 Case: 1:05-cr-00015-RLF-GWB              Document #: 967    Filed: 08/22/08   Page 1 of 2




            IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. CROIX
UNITED STATES OF AMERICA             )
                                    )
               Plaintiff,           )
                                    )               CRIMINAL NO. 2005-0015
               v.                   )
                                    )
FATHI YUSUF MOHAMMED YUSUF,          )
        a/k/a Fathi Yusuf,            )
WALEED MOHAMMED HAMED,               )
        a/k/a Wally Hamed,           )
WAHEED MOHAMMED HAMED,               )
        a/k/a Willie Hamed,          )
MAHER FATHI YUSUF,                   )
       a/k/a Mike Yusuf,            )
ISAM MOHAMAD YOUSUF,                )
       a/k/a Sam Yusuf,             )
NEJEH FATHI YUSUF, and              )
UNITED CORPORATION,                 )
dba Plaza Extra Supermarkets,        )
                                    )
               Defendants.          )
____________________________________ )


                                            ORDER
FINCH, J.

       THIS MATTER comes before the Court on an Emergency Motion to Modify Conditions

of Release and Travel filed by Defendant Waheed Mohammed Hamed. The Court being duly

advised in the premises, it is hereby


       ORDERED that Defendant Waheed Mohammed Hamed’s Emergency Motion to Modify

Conditions of Release and Travel is GRANTED. It is further


       ORDERED that Defendant Waheed Mohammed Hamed is permitted to extend his stay

in Miami Florida until August 27, 2008.

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Case: 1:05-cr-00015-RLF-GWB    Document #: 967   Filed: 08/22/08   Page 2 of 2




    ENTERED this 22nd day of August, 2008.


                                   __________________/s/___________________
                                   HONORABLE RAYMOND L. FINCH
                                   U.S. DISTRICT JUDGE




                                      2
